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                       EXHIBIT C
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GRAB SOME POPCORN —

Tesla ﬁres back against alleged
whistleblower: “He is nothing of the sort”
Martin Tripp, who has yet to secure a lawyer, tells Ars he stands by his comments.
CYRUS FARIVAR - 6/23/2018, 4:03 AM
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Enlarge


Tesla is now wholly refuting the claims made by an ex-employee and
                                                                           Tesla v. Tripp
self-proclaimed whistleblower who previously leaked information to
the press.                                                                 Tesla whistleblower tells SEC
                                                                           of alleged wrongdoing at
                                                                           Gigafactory
In a lengthy statement provided Friday to Ars via a Tesla
                                                                           After subpoenaing Apple in
spokesperson, the company ﬂatly denied that Martin Tripp, the man          trade secrets case, Tesla goes
that the company sued earlier this week for alleged trade secrets          after Facebook

violations, had any noble motivations.                                     Tesla lawsuit target called
                                                                           “horrible human being” by
                                                                           CEO Elon Musk
"He is nothing of the sort," the company wrote. "He is someone who
stole Tesla data through highly pernicious means and transferred that      Tesla sues employee alleged
                                                                           to have stolen gigabytes of
data to unknown amounts of third parties, all while making easily          data
disprovable claims about the company in order to try to harm it."
                                                                           > View more stories

In its lawsuit, Tesla accused Tripp of "hacking" company systems,
which Tripp has categorically denied.

On Thursday, Tripp told Ars that he wanted to reveal internal waste and safety ﬂaws in Tesla batteries
that he claimed he observed while working as a technician at the company’s Gigafactory in Sparks,
Nevada.
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CEO Elon Musk has intimated on Twitter that Tripp is one of 40 other "bad apples" who have
committed "sabotage" against the company in an apparent effort to thwart Tesla's ambitious
promised ramp-up to producing 5000 Model 3s per week. Recently, and highly unusually, the
company mounted a tent-like apparatus known as a Sprung structure that would house a new
assembly line as part of its Fremont, California factory.

As of Friday evening, Tesla had not ﬁled any new similar lawsuits against anyone else besides Tripp.

Tesla’s Friday statement was previously provided to other media outlets "on background" on
Thursday, but the company ultimately agreed to allow Ars to publish all or part of it on the record
after a lengthy conversation with a spokesperson who insisted on not being named, citing company
policy. (We have published the entire statement here.)

Tripp, who as of Friday evening had still not secured an attorney, declined to respond to Tesla’s new
lengthy assertions.

"Unfortunately I cannot comment at this time," he told Ars. "I’ll stand by my previous comments."


"No idea what he is talking about"
The Friday statement went on to say that Tripp "grossly
                                                                      FURTHER READING
exaggerated" the level of waste that he observed while                Tesla sues employee alleged to have
at the Gigafactory.                                                   stolen gigabytes of data


"Relying on the internal data that he hacked from
Tesla’s manufacturing operations system, Tripp incorrectly stated that Tesla has generated nearly
$150 million in scrap at the Gigafactory in 2018," the company wrote. "That number is wrong by more
than a factor of two."

In addition, "he included large quantities that were not scrap from 2018 at all, but that were instead
items such as materials from last year that had already been included in Tesla’s 2017 ﬁnancials, or
that were simply serial numbers assigned as part of routine system testing to components that were
never even made."

Worse still, Tesla insisted, Tripp told company investigators "that he does not actually know the value
of the scrap that he assigned dollar values to. He just guessed."

The statement also insists that "no punctured cells were ever used in Model 3 vehicles in any way."

Tesla did acknowledge that a "robot" had damaged "some modules" in February 2018 at the Sparks
facility, but that ultimately those cells were tossed.

"If there was even a sliver of doubt about whether a cell could pose a safety concern, it was not used
in any vehicle," Tesla wrote. "Notably, there have been zero battery safety issues in any Model 3."
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Further, the company insisted that Tripp’s allegations that Tesla has been reporting "the wrong
production number" of Model 3s is "ridiculous."

"On all of these issues, Tripp is either not telling the truth or he simply has no idea what he is talking
about," the statement concluded.

Tripp told Ars that he was served with the lawsuit at a Reno-area hotel room on Thursday.

Earlier, on Wednesday evening, Tesla told reporters (not including Ars) that it had received a phone
call at the Gigafactory. In a statement issued at the time, Tesla said that it received a call at the
Gigafactory from someone purporting to be a friend of Tripp’s, who had told this unnamed friend
that he, Tripp, intended to "shoot the place up," seemingly in anger over his recent dismissal from the
company.

Tripp categorically denied to Ars that he made any such threat to anyone. He added that he
cooperated with the Storey County Sheriff, which by Thursday morning said publicly that there was
"no credible threat."

Tripp also told Ars that he believed Musk himself was behind the alleged shooting threat.

A spokesperson again asserted Friday that the company had indeed received such a call, but did not
provide any further evidence as to what actions, if any, were taken by Tesla, to verify that a threat of
violence had originated from Tripp.

This spokesperson denied that Musk had anything to do with the Wednesday evening call.

UPDATE 4:01pm ET: The spokesperson also provided Ars with an email that she said was sent from
the Gigafactory employee who received the shooting threat call from someone who claimed to be a
friend of Tripp's. The caller told the Tesla employee that he believed Tripp was "very well heavily
armed." The caller did not provide his name to the company.

This same spokesperson also clariﬁed that Musk's earlier tweet regarding "bad apples" was merely
"referencing the probability of having a few bad actors at a company of 40,000 people. Remember,
he's an engineer at heart :)"

However, Musk's tweet also noted "there is more," suggesting that the company believes there are
more saboteurs afoot beyond Tripp.




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